Case 4:23-bk-05692-BMW   Doc 1 Filed 08/21/23 Entered 08/21/23 10:50:44   Desc
                            Petition Page 1 of 5
Case 4:23-bk-05692-BMW   Doc 1 Filed 08/21/23 Entered 08/21/23 10:50:44   Desc
                            Petition Page 2 of 5
Case 4:23-bk-05692-BMW   Doc 1 Filed 08/21/23 Entered 08/21/23 10:50:44   Desc
                            Petition Page 3 of 5
Case 4:23-bk-05692-BMW   Doc 1 Filed 08/21/23 Entered 08/21/23 10:50:44   Desc
                            Petition Page 4 of 5
Case 4:23-bk-05692-BMW   Doc 1 Filed 08/21/23 Entered 08/21/23 10:50:44   Desc
                            Petition Page 5 of 5
